Case 2:03-cr-20485-SH|\/| Document 308 Filed 08/01/05 Page 1 of 3 Page|D 364

l l o.c.
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WESTERN DISTRICT OF TENNESSEE _ t 33
WESTERN DIVISION 05 AUG l m m
T.¥"`M M. GOL|.D
dan us 'PSMWT COURT
UNITED STATES OF AMERICA, Wll&j {)F "`:‘.' l-ltllll’rll$
Plaintiff,
v. Crimina] No. 03- 20485 Ma
DEMOND ROBINSON,
Defendant.

 

ORDER ALLOWING WITHDRAWAL OF COUNSEL

 

Before the court is the oral motion of Howard Manis, appointed counsel for the
defendant Demond Robinson, seeking an order from this court allowing him to withdraw
from the representation of defendant Demond Robinson. Counsel states that he is
moving out of town and will no longer be available to represent Robinson.

For good cause shown, Howard Manjs be and hereby is allowed to withdraw as
counsel for Robinson. The appointment of Howard Manis is therefore terminated, and
new counsel Will be appointed for the defendant from the CJA list of attomeys.

.élv///M-»-

Sarnuel H. Mays, Jr.
United States District Court Judge

 

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Date )

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Notice of Distribution

This notice confirms a copy of the document docketed as number 308 in
case 2:03-CR-20485 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

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Case 2:03-cr-20485-SH|\/| Document 308 Filed 08/01/05 Page 3 of 3 Page|D 366

Tony R. Arvin

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Honorable Samuel Mays
US DISTRICT COURT

